     Case 5:12-cr-00003-TKW-CJK      Document 410      Filed 09/28/16   Page 1 of 2




                                                                             Page 1 of 2


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                            Case Nos.:    5:12cr3/MW/CJK
                                                            5:16cv190/MW/CJK
JAMES HARDESTY MOORE
_____________________________/

                      REPORT AND RECOMMENDATION

       This case is before the court on Defendant’s letter motion seeking to withdraw

his motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255.

(ECF No. 408). Defendant originally filed a motion pursuant to 28 U.S.C. § 2241

in the Eastern District of North Carolina, which that court transferred to this district

after construing it as a motion pursuant to § 2255. (See ECF No. 400). This court

directed Defendant to file his motion on the proper court form, and having received

no response, entered an order directing Defendant to show cause why his case should

not be dismissed for his failure to comply with a court order. (ECF Nos. 401, 405).

Defendant responded to the latter order by letter, indicating his intent to withdraw

his § 2255 motion.



Case Nos.: 5:12cr3/MW/CJK; 5:16cv190/MW/CJK
   Case 5:12-cr-00003-TKW-CJK        Document 410   Filed 09/28/16   Page 2 of 2




                                                                         Page 2 of 2

      Based on the foregoing, it is respectfully RECOMMENDED:

      Defendant’s letter motion to withdraw his § 2255 motion (ECF No. 408) be

GRANTED, and the motion to vacate, set aside, or correct sentence (ECF No. 400)

be dismissed without prejudice.

      At Pensacola, Florida, this 28th day of September, 2016.




                               /s/   Charles J. Kahn, Jr.
                               CHARLES J. KAHN, JR.
                               UNITED STATES MAGISTRATE JUDGE



                         NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within fourteen (14) days after being served a copy thereof. Any
different deadline that may appear on the electronic docket is for the court’s
internal use only, and does not control. A copy of objections shall be served
upon all other parties. If a party fails to object to the magistrate judge's
findings or recommendations as to any particular claim or issue contained in
a report and recommendation, that party waives the right to challenge on
appeal the district court's order based on the unobjected-to factual and legal
conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case Nos.: 5:12cr3/MW/CJK; 5:16cv190/MW/CJK
